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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
_________________________________
VISION INDUSTRIES GROUP, INC.,

                                 Plaintiff,      Case No. 2:18-cv-6296 (ES) (CLW)

              -- against --
                                                 DEFENDANT’S NOTICE OF MOTION
ACU PLASMOLD, INC.,                  ABC         TO WITHDRAW ADMISSIONS
COMPANIES 1-10 and                   XYZ
CORPORATIONS 1-10,

                       Defendants
________________________________


      Pursuant to Federal Rule of Civil Procedure 36(b) defendant ACU Plasmold, Inc.

moves for an order as follows:

1     Permitting defendant ACU Plasmold, Inc. to withdraw admissions, in order to permit

      the presentation of the merits of the within action, as it would not prejudice the

      requesting party (plaintiff) in maintaining its action on the merits.

Defendant's Motion is based upon the attached Memorandum of Law and any attached


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Declaration(s) of Counsel and exhibits attached thereto.

Dated: April 21, 2025                          Isl Michael T. Warshaw

                                               Isl Edward W. Miller




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